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                                                                   of 1

PS 40 (Rev. 12/13) Notice Regarding United States Passport for Criminal Defendant


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             District
                                                       __________     of Colorado
                                                                   District of __________

          NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

TO:                        U.S. Department of State                             FROM:                   United States District Court
                                 CA/PPT/L/LA                                                                District of Colorado
                            0HUFXUH&LUFOH                                                       901 19th Street, Room A105
                                 32%R[                                                                Denver, CO 80294
                           6WHUOLQJ, VA 201-1


 ✔    Original Notice                                                               x Notice of Disposition
Date:      09/12/2016                                                           Date:       March 30, 2018
By: J. Garcia-Gonzalez                                                          By:         L. Roberson


Defendant:        Donald Iley                                                   Case Number:      16-cr-00284-CMA-1
Date of Birth: 1964                                                             Place of Birth:   Texas, USA
SSN:


Notice of Court Order (Order Date:                   09/07/2016                         )

 ✔    The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card during the
      pendency of this action.
 ✔    The above-named defendant surrendered passport number 307697522               and/or passport card number
                            to the custody of the U.S. District Court on 09/12/2016               .


NOTICE OF DISPOSITION

The above case has been disposed of.

      The above order of the court is no longer in effect.
      Defendant not convicted – Document returned to defendant.
      Defendant not convicted – Document enclosed for further investigation due to evidence that the document may
      have been issued in a false name.
 x Defendant convicted – Document and copy of judgment enclosed.




Distribution:
Original to case file
Department of State
Defendant (or representative)
Clerk of Court
